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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              AT BLUEFIELD

UNITED STATES OF AMERICA

v.                                          CRIMINAL NO. 1:13-00204-002

TOBI LaDAWN JONES


                      MEMORANDUM OPINION AND ORDER

        In Bluefield, on November 6, 2014, came the defendant,

Tobi LaDawn Jones, in person and by counsel, Derrick W. Lefler;

came the United States by John L. File, Assistant United States

Attorney; and came United States Probation Officer Brett Taylor,

for a hearing on the petition to revoke the defendant's term of

supervised release.

        The court informed the defendant of the alleged

violations contained in the petition to revoke the term of

supervised release, filed on August 26, 2014.            The court advised

the defendant that, pursuant to Rule 32.1(b) of the Federal Rules

of Criminal Procedure, she has the right to a hearing and

assistance of counsel before her term of supervised release could

be revoked.    Whereupon the defendant admitted the charges

contained in the petition.      Thereafter, the court found the

charges were established by a preponderance of the evidence.

        Having heard arguments of counsel, the court found that

the Guideline imprisonment range for the revocation of supervised

release upon such grounds was three to nine months.             The court

further found that the Guideline ranges issued by the Sentencing
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Commission with respect to revocation of probation and supervised

release are policy statements only and are not binding on the

court.   Thus, the court stated that the relevant statutory

provision is 18 U.S.C. § 3583(e)(3), which provides a maximum

term of imprisonment of twelve months.          Neither party objected to

the Guideline range and statutory penalty as determined by the

court.   The court found that there was sufficient information

before the court on which to sentence defendant without updating

the presentence investigation report.

         After giving counsel for both parties and defendant an

opportunity to speak regarding the matter of disposition, the

court ORDERED, pursuant to the Sentencing Reform Act of 1984,

that the defendant's term of supervised release be revoked, and

she is to be incarcerated for a term of three (3) months.                Upon

completion of her term of incarceration, the defendant shall

serve a term of nine (9) months of supervised release.              As a

condition of her term of supervised release, the defendant shall

reside at Secor, Inc., a halfway house located in Lebanon,

Virginia and adhere to all rules and regulations of the facility

while residing there.     The court also reimposed the unpaid

special assessment in the amount of $100.00, which is due and

payable immediately.     If the defendant does not have the means to

pay the special assessment immediately, she may pay it in monthly




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installments to be determined by the Probation Office and

approved by the court.

        In considering the proper term of imprisonment to be

imposed, the court considered the factors set forth in 18 U.S.C.

§ 3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5),

(a)(6), and (a)(7), as well as the Chapter 7 policy statements.

The court considered all of the findings in the case, and

concluded that the sentence satisfied the statutory objectives of

18 U.S.C. § 3553, and was sufficient, but not greater than

necessary, to provide adequate deterrence to criminal conduct and

protect the public from further crimes of the defendant.               The

court further considered that Secor, Inc. would provide the

defendant with an opportunity for a drug treatment program.

        The defendant was informed of her right to appeal the

court's findings and the revocation of her supervised release.

The defendant was further informed that in order to initiate such

an appeal, a Notice of Appeal must be filed in this court within

fourteen (14) days.     The defendant was advised that if she wishes

to appeal and cannot afford to hire counsel to represent her on

appeal, the court will appoint counsel for her.            The defendant

was further advised that if she so requests, the Clerk of court

will prepare and file a notice of appeal on her behalf.

        The defendant was remanded to the custody of the United

States Marshals Service.


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        The Clerk is directed to forward a copy of this

Memorandum Opinion and Order to counsel of record, the United

States Marshal for the Southern District of West Virginia, and

the Probation Department of this court.

        IT IS SO ORDERED this 12th day of November, 2014.

                                    ENTER:


                                    David A. Faber
                                    Senior United States District Judge




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